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 1 Jen-Feng Lee, SBN 204328
   jflee@ltpacificlaw.com
 2 Kenneth K. Tanji, Jr., SBN 162273
   ktanji@ltpacificlaw.com
 3
   LT PACIFIC LAW GROUP, LLP
 4 17800 Castleton Street, #560
   City of Industry, CA 91748
 5 T: 626-810-7200
   F: 626-810-7300
 6

 7 Robert E. Aycock (Admitted pro hac vice)
   robert@kimballanderson.com
 8 William B. Chadwick (Admitted pro hac vice)
   will@kimballanderson.com
 9 KIMBALL ANDERSON
   649 E. South Temple, 2nd Floor
10 Salt Lake City, UT 84102

11 T: 801-359-3333
   F: 801-326-4526
12
   Attorneys for Defendants
13 XIAMEN JXD ELECTRONIC COMMERCE CO. LTD.,
   XIAMEN SUNNYPET PRODUCTS CO. LTD., and
14 PETSFIT INC.

15

16                             UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                   OAKLAND DIVISION

19

20 YUNTEK INTERNATIONAL, INC.,                   Case No. 4:20-cv-07201-JSW

21               Plaintiff,                      JOINT STATEMENT CONSENTING TO
                                                 ASSIGNMENT TO MAGISTRATE FOR
22        v.                                     SETTLEMENT CONFERENCE AND
                                                 REQUEST TO DEFER CASE
23 XIAMEN JXD ELECTRONIC COMMERCE                DEADLINES; DECLARATION OF
   CO., LTD. and XIAMEN SUNNYPET                 ROBERT E. AYCOCK IN SUPPORT;
24 PRODUCTS CO., LTD.,                           [PROPOSED] ORDER

25               Defendants.

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         JOINT STMNT. CONSENTING TO ASSIGNMENT TO MAGISTRATE JUDGE FOR SETTLEMENT
     CONFERENCE AND REQUEST TO DEFER CASE DEADLINES; DEC. OF R. AYCOCK; [PROPOSED] ORDER
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 1          In accordance with Civil Local Rule 7-12, Plaintiff Yuntek International, Inc. (“Yuntek” or

 2 “Plaintiff”) and Defendants Xiamen JXD Electronic Commerce Co., Ltd., Xiamen Sunnypet

 3 Products Co., Ltd., and Petsfit, Inc. (collectively, “Sunnypet” or “Defendants”) (collectively, the

 4 “Parties”) jointly submit this Joint Statement Consenting to Assignment to Magistrate Judge for

 5 Settlement Conference and Request to Defer Case Deadlines.

 6          WHEREAS, in view of the current state of the litigation, including the Court’s recent claim

 7 construction order and the disclosure of the parties’ opening expert reports, the Parties believe that

 8 an additional mediation conference with Magistrate Judge Westmore may prove beneficial in

 9 resolving this litigation.

10          WHEREAS, the Parties also believe that staying the current case deadlines, including the

11 preparation and filing of the Joint Case Management Statement this week and holding the Case

12 Management Conference next week, would further facilitate and help the parties attempt to settle

13 this case. There are currently no other pending dates, including dates for dispositive motions,

14 pretrial filings, a pretrial conference, or trial that will be affected by these new dates as dates for

15 these and other pretrial events would be set at next week’s Case Management Conference.

16          NOW, THEREFORE, the Parties hereby STIPULATE, by and through their respective

17 counsel of record, subject to approval of the Court, as follows:

18          1.      Settlement Conference. The Parties request that the Court enter an order to assign

19 this case for a settlement conference to be held with Magistrate Judge Westmore at Magistrate Judge

20 Westmore’s soonest available date.

21          2.      Pending Deadlines. In order to preserve the resources of the parties and the Court,

22 the Parties jointly request that pending deadlines in this case, including the filing of the Joint Case

23 Management Report (due on July 15, 2022), the Case Management Conference (set for July 22,

24 2022), and the briefing on Yuntek’s Motion to Strike in Part Defendants’ Invalidity Expert Report

25 [Dkt. # 134], be deferred pending the outcome of the settlement conference with Magistrate Judge

26 Westmore.

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         JOINT STMNT. CONSENTING TO ASSIGNMENT TO MAGISTRATE JUDGE FOR SETTLEMENT
     CONFERENCE AND REQUEST TO DEFER CASE DEADLINES; DEC. OF R. AYCOCK; [PROPOSED] ORDER
       Case 4:20-cv-07201-JSW Document 137 Filed 07/14/22 Page 3 of 4




 1 Dated: July 14, 2022                      KIMBALL ANDERSON

 2
                                         By: /s/ Robert E Aycock
 3
                                             Robert E. Aycock
 4                                           William B. Chadwick

 5                                           LT PACIFIC LAW GROUP, LLP
                                             Jen-Feng Lee
 6                                           Attorneys for Defendants XIAMEN JXD
                                             ELECTRONIC COMMERCE CO., LTD., XIAMEN
 7
                                             SUNNYPET PRODUCTS CO., LTD., and PETSFIT
 8                                           INC.

 9

10                                           RIMON, P.C.
     Dated: July 14, 2022
11
                                         By: /s/ Matthew H. Poppe
12                                           Matthew H. Poppe
13
                                             Attorneys for Plaintiff YUNTEK
14                                           INTERNATIONAL, INC.

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         JOINT STMNT. CONSENTING TO ASSIGNMENT TO MAGISTRATE JUDGE FOR SETTLEMENT
     CONFERENCE AND REQUEST TO DEFER CASE DEADLINES; DEC. OF R. AYCOCK; [PROPOSED] ORDER
       Case 4:20-cv-07201-JSW Document 137 Filed 07/14/22 Page 4 of 4




 1                                        [PROPOSED] ORDER

 2          The above JOINT STATEMENT CONSENTING TO ASSIGNMENT TO MAGISTRATE

 3 FOR SETTLEMENT CONFERENCE AND REQUEST TO DEFER CASE DEADLINES is

 4 approved for this case and all parties shall comply with its provisions. This matter shall be assigned

 5 to Magistrate Judge Westmore to preside over a settlement conference. All pending deadlines in

 6 the existing Case Management Order are hereby DEFERRED pending the results of the settlement

 7 conference.

 8        IT IS SO ORDERED.
             July 14
 9 Dated: ___________________, 2022

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                                                By:
12                                                    UNITED STATES DISTRICT JUDGE

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         JOINT STMNT. CONSENTING TO ASSIGNMENT TO MAGISTRATE JUDGE FOR SETTLEMENT
     CONFERENCE AND REQUEST TO DEFER CASE DEADLINES; DEC. OF R. AYCOCK; [PROPOSED] ORDER
